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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-03501-RBJ


Liberty Global, Inc.
          Plaintiff,

v.


United States of America

          Defendant.


                       ORDER GRANTING UNITED STATES’ MOTION
                               TO AMEND SCHEDULE


         For good cause showing, the Court grants the United States’ motion to extend pre-trial

deadlines. The extended deadlines shall be as follows:

 Event                            Current Schedule                 Amended Schedule

 Fact Discovery                   February 28, 2023                April 14, 2023

 Initial Expert Disclosures       April 28, 2023                   June 16, 2023

 Rebuttal Expert Disclosures      May 31, 2023                     July 21, 2023

 Expert Discovery Cut-off         June 30, 2023                    August 18, 2023

 Dispositive Motion Cut-off        June 30, 2023                   August 18, 2023

 Trial Preparation Conference      September 29, 2023 9am          September 29, 2023 9am

 Trial                            October 16, 2023                 October 16, 2023




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                                         IT IS SO ORDERED.


                                         ____________________
                                         The Honorable R. Brooke Jackson
                                         Senior United States District Judge




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